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    RECEIVED
       06/05/2023
DEBORAH S. HUNT, Clerk
                           UNITED STATES COURT OF APPEALS
                                FOR THE SIXTH CIRCUIT


       JOHN KOE, a pseudonym,                               )
                                                            )
              Plaintiff-Appellant,                          )
                                                            )
       v.                                                   )      No. 22-3952
                                                            )
       UNIVERSITY HOSPITALS HEALTH                          )
       SYSTEM INC., et al.,                                 )
                                                            )
              Defendants-Appellees.                         )


       APPELLANT’S MOTION FOR RECONSIDERATION OF THE MAY 19, 2023
            ORDER REQUIRING PRE-PAYMENT OF APPELLATE FEES



              Pursuant to Fed. R. App. P. 27(b) and 6 Cir. R. 27(g), Plaintiff-Appellant

       John Koe (“Koe”) moves this honorable Court to reconsider the May 19, 2023

       single-judge order requiring him to pre-pay appellate fees in this appeal arising

       from the dismissal of his civil rights action because the Court (1) has overlooked

       the nonfrivolous issues identified for appellate review attached to the motion and

       affidavit filed under Fed. R. App. P. 24(a)(5); (2) has overlooked of the reasoned

       arguments and authorities advanced in the motion to alter judgment submitted in

       the court below; and (3) has overlooked the fact that the May 19, 2023 order in

       essence conditions meaningful appellate review on the pre-payment of fees

       contrary to 28 U.S.C. §1915.

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BACKGROUND

      Koe brought his civil rights action pro se against his former employer(s),

University Hospitals Cleveland Medical Center and University Hospitals Health

System Inc. (collectively “University Hospitals” or “UH”). In his timely filed

complaint, Koe included an integral motion seeking leave to proceed under a

pseudonym. (DC Doc. 1-1, PageID 6). Koe moved for leave to proceed in forma

pauperis in the district court. (DC Doc. 1-2).

      In short, Koe’s complaint alleges that during his employment as a resident

physician he was subjected to unlawful discriminatory and retaliatory harassment

on the bases of sex, disability, and reprisal for his protected activities. More

specifically, Koe alleges, inter alia, that the UH used its mandatory Employee

Assistance Program(“EAP”) policy or practice as a subterfuge for conducting

unlawful medical examinations and disability-related inquiries on current

employees in violation of the Americans with Disabilities Act as amended in 2008

(“ADA”), 29 C.F.R. 1630.14(d) & 42 U.S.C. §12112(d)(4)(A). Koe alleges

additionally that under this policy or practice UH requested or required family

medical history from current employees in violation of the Genetic Information

Non-Discrimination Act of 2008 (“GINA”), 42 U.S.C. § 2000ff-1(b). Koe states

that he was subjected to UH’s EAP policies and practices, under threat of

discharge, and over his objections that such examinations/inquiries were unlawful.

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Koe related that due to UH’s failure to take prompt and corrective action to

ongoing harassment he eventually filed charges with inter alia the National Labor

Relations Board (“NLRB”) and U.S. Equal Employment Opportunity Commission

(“EEOC”) challenging UH’s EAP policies and practices. Koe alleges that when

UH learned of his charges he was subjected to further retaliatory harassment

culminating in an act of retaliatory and discriminatory discharge within 2-3

months.

        On September 16, 2022, prior to any screening under 28 U.S.C. § 1915 and

prior to service of process, UH filed a motion to dismiss. (DC Doc. 3). On October

10, 2022, still prior to any screening, UH filed a motion with the district court

seeking a “protective order” prohibiting Koe from “directly communicating with”

any of its officers, employees1, or affiliates and requiring Koe to direct all

communications about the case to UH’s counsel of record. (DC Doc. 5). The next

day, the district court granted UH’s motion and issued the requested order without

attempting to contact Koe, seeking a responsive pleading, or scheduling a hearing.

(DC Doc. 6).




1
    University Hospitals Health System, Inc. notably employs over 25,000

individuals or >1.2% of the Cleveland metro area


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      On October 13, 2022, the district court simultaneously granted Koe pauper

status, denied his motion to proceed under a pseudonym, and dismissed his

complaint and action “without prejudice”. The district court reasoned that because

it had denied Koe leave to proceed under a pseudonym it lacked jurisdiction to

hear the case. The district court’s memorandum opinion and order stated that if

Koe wished to continue his case he “must within fourteen (14) days of the entry of

this order: (1) file a motion to reopen the case; and (2) file an amended complaint

identifying himself.” (DC Doc 7, PageID 101). The district court

contemporaneously entered a separate judgment dismissing all claims “without

prejudice” pursuant to 28 U.S.C. § 1915(e) without specifying one of the

enumerated reasons under that section. The district court certified sua sponte “that

an appeal from [its] decision could not be taken in good faith” pursuant to 28

U.S.C. § 1915(a)(3). (DC Doc 8, PageID 102).

      On November 9, 2022, Koe moved the district court to modify its judgment

based on errors of law and in the interest of justice. Koe requested the district court

inter alia (1) reverse its decision to dismiss his civil rights action so that his case

could be heard on its merits because the district court had jurisdiction; (2) afford

him an opportunity to brief and argue the circumstances that would justify leave to

proceed under a pseudonym; and (3) vacate the order prohibiting him from

communicating with UH’s employees because it was improperly issued under Fed.


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R. Civ. P. 26(c), the First Amendment, and the Norris-LaGuardia Act, 29 U.S.C.

101 et seq. Koe’s motion was supported by reasoned arguments and cited

authorities. (DC Doc. 9-1). Koe moved the district court, in the alternative, to at

least vacate its certification that an appeal could not be taken in good faith in light

of his demonstration of the existence of nonfrivolous issues and reasoned legal

arguments for appeal. (DC Doc. 9-1, PageID 118-119). On November 10, 2022,

the district court summarily denied the motion and re-certified that an appeal could

not be taken in good faith. (DC Doc. 10, PageID 126) The district court did not

explain its reasons for its certification. Cf. Fed. R. App. P. 24(a)(1) and 24(a)(3).

      On November 14, 2022, Koe filed a timely notice of appeal to the Sixth

Circuit Court of Appeals from the district court’s judgment dismissing his action,

the order prohibiting him from communicating with UH employees, and the other

decisions that merge on appeal under the Fed. R. App. P. (DC Doc. 11). The appeal

was docketed by the Sixth Circuit Court of Appeals as Case # 22-3592 on

November 15, 2022.

      This Court mailed Koe a case opening letter informing him that because the

district court revoked his pauper status, he would need to pay the full $505.00

appeal filing fee or file a motion for pauper status with the Court to waive the

filing fee. The Court enclosed a blank form motion for pauper status and a blank




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copy of Form 4 of the Appendix of Forms, Affidavit Accompanying Motion to

Appeal in Forma Pauperis with its mailing. (1-1, 1-2).

      Koe returned a completed and signed motion and financial affidavit along

with an attached a preliminary statement of issues for appeal challenging the

district court's certification that his appeal was not taken in good faith under Fed.

R. App. P. 24(a)(5). (6, Page 2; also attached as Exhibit A). Koe framed the issues

for which he is seeking appellate review as “questions of law for the purpose of

showing that the appeal is being taken in good faith and to comply with Fed. R.

App. P. 24”, namely:


      1. Is a court order prohibiting a litigant from communicating with over

          25,000 individuals an unconstitutional prior restraint of free speech under

          the First Amendment?



      2. Is an order denying a litigant's motion to proceed by pseudonym

          immediately appealable under the collateral order doctrine?



      3. Does a litigant's use of a pseudonym instead of a real name when filing a

          complaint deprive a court of subject-matter jurisdiction?




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       4. Under the Norris-LaGuardia Act, does a court lack jurisdiction to issue

          an order restraining a litigant from communicating with other employees

          when the controversy involves or arose out of alleged unlawful

          employment practices by the employer?



       5. Does a court deprive a litigant of procedural due process when it denies

          the litigant's motion to proceed using a pseudonym to protect privacy

          interests at risk from bringing action without affording the litigant a

          meaningful opportunity to be heard?



Procedural Posture on Appeal

       This appeal has not been briefed and no briefing schedule has been set.

       On January 17, 2023, UH filed a motion to dismiss the appeal for lack of

jurisdiction under 6th Cir. Rule 27(d). (8-1). On February 15, 2023, this Court

denied that motion after a 3-judge panel determined that the Court has jurisdiction

to hear Koe’s appeal taken from the judgment of the district court dismissing his

civil rights action. (9-1).

       On May 19, 2023, the Court entered a single judge order denying Koe’s

Rule 24(a)(5) motion reasoning Koe “does not have a good-faith argument that the



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district court erred in finding that he did not overcome the presumption in favor of

open judicial proceedings.” The order threatens dismissal of the appeal for want of

prosecution “[u]nless Koe pays the $505 filing fee to the district court within 30

days of the filing of this order.” (16-1).

      Koe now moves Court to reconsider and vacate the May 19, 2023 single-

judge order, enter an order finding that Koe seeks review of nonfrivolous issues

and waiving the appeal filing fee so that this appeal may be determined on its

merits after it has been fully briefed and argued.

ISSUE

      The issue before this Court when reconsidering its May 19, 2023 order is:

             Does Koe seek appellate review of nonfrivolous issues?

ARGUMENT

I. Legal Standard

   A. Screening for Frivolity under 28 U.S.C. § 1915

      "Good faith has been defined as a requirement that an appeal present a

nonfrivolous question for review." Cruz v. Hauck, 404 U.S. 59, 62 (1971). see also

Coppedge v. United States, 369 U.S. 438, 445 (1962). In Anders v. California, 386

U.S. 738, 87 S.Ct. 1396, 18 L.Ed.2d 493 (1967), the Supreme Court made clear



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that frivolity and lack of merit are not coextensive stating "legal points arguable on

their merits" are "therefore not frivolous." Id. at 744, 87 S.Ct. at 1400. In other

words, the focus of frivolity screening under §1915 is limited to the weight of the

issues, not their ultimate merits.

II. This Appeal Seeks Review of Nonfrivolous Issues

      The record from the court below and the preliminary statement filed with

this Court demonstrates that Koe is seeking appellate review of nonfrivolous

issues. Koe appealed from the judgment of the district court dismissal of his civil

rights action under 28 U.S.C. § 1915(e). Absent reversal, the courthouse door is

shut and Koe will be deprived of the opportunity to litigate or have heard on its

merits the action he filed to vindicate rights guaranteed by the ADA and the GINA.

The district court explained in its memorandum opinion and order that it was

dismissing Koe’s action for lack of jurisdiction relying on Citizens for a Strong

Ohio v. Marsh, 123 Fed. App’x. 630, 637 (6th Cir. Jan. 3, 2005) (citing Nat’l

Commodity & Barter Ass’n, Nat’l Commodity Exch. v. Gibbs, 886 F.2d 1240, 1245

(10th Cir. 1989)) (“the federal courts lack jurisdiction over the unnamed parties, as

a case has not been commenced with respect to them.”). (DC 7, PageID100).

Marsh is an unpublished and non-precedential Sixth Circuit case from 2005 that is

not binding on the district court. When Koe moved the district court to alter its

judgment, he challenged the district court’s legal reasoning arguing that a real

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name cannot be “jurisdictional if a court has the power to fully hear and decide a

case brought by a pseudonymous litigant” while citing to Doe v. Porter, 370 F.3d

558 and Roe v. Wade, 410 U.S. 113. (DC Doc. 9-1, PageID 109). In the same

motion, Koe cited to B.R. v. F.C.S.B., No. 21-1005 (4th Cir. Nov. 2, 2021) where

the Fourth Circuit acknowledging pseudonymous litigation implicates the

"customary and constitutionally-embedded presumption of openness in judicial

proceedings," (citing Doe v. Stegall, 653 F.2d 180, 186 (5th Cir. 1981)) rejected

"the suggestion that a plaintiffs failure to disclose her name to the court at the

outset of the litigation denies the court the power to resolve the dispute.” Id.

(cleaned up). As part of its analysis, the Fourth Circuit rejected Gibbs as well as

Marsh concluding:

      Gibbs represents the kind of "drive-by jurisdictional ruling[] of [the] sort"
      that was more common before Supreme Court decisions like Steel Company
      made clear that the term subject-matter jurisdiction means "the court’s
      statutory or constitutional power to adjudicate the case." 523 U.S. at 89, 91.
      Indeed, Gibbs was decided before Steel Company.

      Id.

While Sixth Circuit appears to have not yet had an occasion to fully reconsider its

decision in Marsh, the reasonable jurists of the Fourth Circuit clearly found a

colorable argument for rejecting Marsh and thus the legal reasoning underpinning

the district court’s decision to dismiss Koe’s civil rights action.




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      Koe also seeks review of the district court’s ex parte issuance of an order

prohibiting him from directly communicating with at least 25,000 individuals as

inter alia (1) an improper prior restraint of First Amendment rights issued without

notice or a hearing; and (2) erroneously issued when courts are deprived of

jurisdiction to issue such orders, especially without an evidentiary hearing, under

the Norris-LaGuardia Act, 29 U.S.C. § 101 et seq. These issues are distinctly

nonfrivolous.

III. The May 19, 2023 Order Overlooks the Record

      While the May 19, 2023 order initially identifies in essence that Koe’s

appeal is from the district court’s dismissal of his employment civil rights action

“for lack of jurisdiction,” the order only addresses the district court’s decision to

deny Koe leave to proceed under a pseudonym arguing:

      Koe does not have a good-faith argument that the district court erred in
      finding that he did not overcome the presumption in favor of open judicial
      proceedings. Koe did not specify the harm that would result from disclosure
      of his identity, nor did he distinguish his case from other cases involving
      litigants with mental-health disabilities. Cf. Doe v. Carson, Nos. 19-
      1566/19-1714, 2020 WL 2611189, at *3 (6th Cir. May 6, 2020). And Koe
      could have been shielded from public embarrassment by filing the records of
      his counseling sessions under seal.

      (16-1) (cleaned up)

The May 19, 2023 order overlooks the fact, that while leave to proceed under a

pseudonym ultimately lies in the sound discretion of a trial court, in this case the



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district court’s sudden but not sua sponte decision to dismiss Koe’s action under 28

U.S.C. § 1915(e) had the effect of denying Koe the opportunity to brief or argue

the exceptional circumstances justifying leave to proceed under a pseudonym.

Accordingly, the district court was without the occasion to fully and soundly

consider the issue. Furthermore, the May 19, 2023 order overlooks the fact that

when his filings are construed liberally Koe did in fact distinguish his case from

other cases, and in fact did identify specific harm justifying his request for leave to

proceed under a pseudonym. In the motion for leave to proceed under a

pseudonym in his original complaint, Koe cited Roe v. Catholic Health Initiatives

Colorado, 11-cv-02179-WYD-KMT (D. Colo. Jan. 4, 2012), a Colorado district

court ruling in a case brought by a plaintiff litigating similar violations of Title I of

the ADA where the district court allowed the plaintiff Roe to proceed under a

pseudonym on the paradigm that “the injury litigated against would be incurred as

a result of the disclosure of the plaintiff's identity.” Doe v. Frank, 951 F.2d 320,

324 (11th Cir.1992). (DC Doc. 1-1, PageID 6). In his motion for reconsideration,

Koe explained further:

      While Defendants have already retaliated against Plaintiff, Plaintiff has not
      yet incurred the harm of the unlawful and widespread public disclosure of
      medical information explicitly protected from disclosure, without limitation,
      under 42 U.S.C. § 290dd-2, 42 U.S.C. § 12112(d), and by the
      psychotherapist-client privilege. See, Jaffee v. Redmond, 518 U.S. 1. This
      information only exists or is at issue because of Defendants discriminatorily
      and unlawfully subjected Plaintiff to prohibited medical


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      examinations/inquiries, 42 U.S.C. § 12112(d)(4)(a) under the subterfuge of
      their EAP in violation of 29 C.F.R. § 1630.14(d) et seq. Defendants have
      already shown they are willing to abuse the litigation privilege to attack
      Plaintiff and to improperly publish communications protected by privilege
      without Plaintiff’s consent (e.g. Doc. 5-1 at 23- 24) for no other purpose
      than improper purpose such as harassing Plaintiff.
      (DC Doc. 9-1, PageID #113)

      The argument in the May 19, 2023 order about sealing records overlooks the

fact that the district court simply dismissed Koe’s action and did not indicate it

would allow Koe to file records under seal. Cf. Doe v. Carson No. 19-1566/19-

1714 (6th Cir. May 6, 2020) (unpublished opinion at *4). The May 19, 2023 order

overlooks the fact that Koe, when he moved the district court to modify its

judgment, presented a colorable argument that compared to filing records under

seal, leave pseudonym would be less restrictive to the public interest in open

judicial proceedings because a pseudonym would deprived the public of only a

single fact: Koe’s real name. (DC Doc. 9-1, PageID 114). Thus, Koe argued

granting him leave to proceed under a pseudonym thus struck a better balance

between:

      protecting his legitimate “privacy interests, the public interest in the
      enforcement of the privacy provisions of Title I of the ADA, the public
      interest in privacy protections under 42 U.S.C. § 290dd-2, the public interest
      in maintaining the sanctity of the psychotherapist-client privilege, the public
      interest in ensuring that other similarly situated litigants will come forward,
      and the public interest in open judicial proceedings.”

      Id.



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There is in fact a good faith argument that the district court erred in denying Koe

the opportunity to brief or argue the pseudonym issue, especially when the district

court considered UH’s filings.


IV. Doe v. Carson Supports a Finding that Koe Seeks Review of Nonfrivolous

Issues

         The May 19, 2023 order denies Koe pauper status based on the conclusion

that he “does not have a good-faith argument” citing in comparison to the cases

Doe v. Carson 6th Cir. No. 19-1566/19-1714, 2020. (16-1). However, the May 19,

2023 order overlooks or misapprehends this honorable Court’s prior decision

finding that a plaintiff-appellant appealing a district court’s dismissal of a civil

rights action for lack of jurisdiction and related denial of leave to proceed

anonymously was “seek[ing] appellate review of non-frivolous issues.” Doe v.

Carson No. 19-1566 (6th Cir. January 8, 2020) (unpublished order).

         In that case, Doe sought leave to proceed in anonymity due to concerns

about the stigma of being associated with a mental health impairment in public

court filings. The district court magistrate judge, finding that Doe had not

overcome the presumption of open judicial proceedings, recommended denial of

Doe’s motion and directed Doe to file an amended complaint identifying herself by

her legal name within 21 days. The court warned that if Doe failed to do so her



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action would be at risk for dismissal “for lack of jurisdiction.” Doe filed a timely

objection to the magistrate judge’s report and recommendation and a notice of

appeal to the Sixth Circuit Court of Appeals. The district court entered an order

reaffirming its decision, certifying Doe’s appeal as seeking review of “frivolous”

issues, and denying Doe leave to proceed in forma pauperis on appeal. The district

court nevertheless informed Doe that she still “could file a motion for leave to

proceed in forma pauperis in the Court of Appeals pursuant to the requirement set

forth in Fed. R. App. P. 24(a)(5).” The district court then dismissed Doe’s action

“for lack of jurisdiction” when she did not file an amended complaint. Doe then

filed a motion in this Court to amend her existing appeal which was construed as a

separate notice of appeal docketed under case number 19-1714. Doe filed for leave

to proceed in forma pauperis under Fed. R. App. P. 24(a)(5) in both appeals. When

this Court screened Doe’s appeal, this Court citing Coppedge v. United States, 369

U.S. 438, 445 (1962) found that Doe was “seek[ing] appellate review of non-

frivolous issues” (e.g. denial of leave to proceed anonymously and the dismissal of

her civil rights action), and waived the appeal filing fee. Doe v. Carson No. 19-

1566 (6th Cir. January 8, 2020) (unpublished order) & Doe v. Carson No. 19-1714

(6th Cir. January 8, 2020) (unpublished order).

      If the Court found Doe was seeking appellate review of “non-frivolous

issues” when she appealed the district court’s dismissal of her civil rights action



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and related denial of leave to proceed anonymously, the Court should find Koe too

is seeking appellate review of non-frivolous issues. Koe in fact has more room to

argue the district court erred in dismissing his civil rights action because in contrast

to Doe, Koe was deprived of the procedural protections anticipated by Fed. R. Civ.

P. because inter alia he (1) was not given notice of the potential dismissal; (2) was

deprived of an opportunity to avoid dismissal; (3) was deprived of an opportunity

to brief or argue the exceptional circumstances of his case that justified leave to

proceed under a pseudonym; and (4) was deprived of the opportunity to respond to

the filings UH submitted and the district court considered when dismissing Koe’s

action.

V. Conditioning Appellate Review on a Fee Is Contrary to 28 U.S.C. § 1915

      The May 19, 2023 single-judge order overlooks the fact that it conditions

meaningful appellate review on the pre-payment of an appeal filing fee contrary to

both the Congressional intent behind the in forma pauperis statute and settled

precedent. Congress enacted the in forma pauperis statute now codified under 28

U.S.C. § 1915 "to ensure that indigent litigants have meaningful access to the

federal courts." Neitzke v. Williams, 490 U.S. 319, 324, 109 S.Ct. 1827, 1831, 104

L.Ed.2d 338 (1989). Beginning with Griffin v. Illinois, 351 U.S. 12 (1956) the

Supreme Court has held that equal justice was not afforded an indigent appellant

where the nature of the review "depends on the amount of money he has.” Id. In



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Cruz v. Hauck, 404 U.S. 59, 63-64, 92 S.Ct. 313, 30 L.Ed.2d 217 (1971) the

Supreme Court expanded Griffin to civil actions declaring "equal protection

concept is not limited to criminal prosecutions." In Coppedge, the United States

Supreme Court explained:

      "The point of equating the test for allowing a pa1..1per's appeal to the test for
      dismissing paid cases, is to assure equality of consideration for all litigants.
      The equation is intended to place the burdens of proof and persuasion in all
      cases on the same party - in these cases, on the Government."

      Coppedge v. United States, 369 U.S. 438, 447-448 (1962)


CONCLUSION

      Based on the foregoing, Koe respectfully requests the Court vacate the May

19, 2023 single-judge order and enter an order finding that Koe seeks review of

nonfrivolous issues and waiving the appeal filing fee so that this appeal may be

determined on its merits after it has been fully briefed and argued.



Dated: June 5, 2023                                   Respectfully submitted,


                                                      John Koe
                                                      POBox527
                                                      Novelty OH 44072-0527

                                                      Tel: (330) 732-5001
                                                      Email: john@johnkoe.org


                                                      Plaintiff-Appellant, pro se


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                        CERTIFICATE OF COMPLIANCE


      This document complies with the type-volume limit of Fed. R. App. P.
27(d)(2)(A) because, excluding the parts of the docum·ent exempted by Fed. R.
App. P. 32(f) in that this document contains 3767 words; and
      This document complies with the typeface requirements of Fed. R. App. P.
32(a)(5) and the type-style requirements of Fed. R. App. P. 32(a)(6) because this
document has been prepared in a proportionally spaced typeface using Office in
14-point Times New Roman.


Dated: June 5, 2023
                                                          John Koe




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                EXHIBIT A
FORM4.              AFFIDAVIT ACCOMPANYING MOTION FOR
                   PERMISSION TO APPEAL IN FORMA PAUPERIS

                                United States Court of Appeals
                                     for the Sixth Circuit                                RECEIVED
                                                                                             12/16/2022
JOBH XOB                                                                              DEBORAH S. HUNT, Clerk
                                                    ]
Plaintiff - Appellant


 v.
UNZVBRSITY HOSP~TALS HEALTH SYSTEMS,
                                                    ]

                                                    ]      Case No: . 22-3952
                                                                                  ________
                                                                         ___....,_.

IHC.1 UNJ:VBRSITY HOSPITALS CLBVELAND               ] ·
MBDICAL CBHTBR
                                                    ]
Defendants - Appellees



Affidavit in Support of Motion                            Instructions
I swear or affirm under penalty of perjury that,          Complete al~ questions in this application and
because of my poverty, I cannot prepay the .·             then sign it Do not leave any blanks: if the
docket fees of my.appeal or post.a bond for               answer to a question is "0," "none," or "not
them. I believe I am entitled to redress. I swear         applicable (N/A)," write that response. If you
or affum under penalty of perjury under .                 need more space to answer a question or to
United States laws that my answers on this                explain your answer, attach a separate sheet of
form are true and correct. (28 U.S.C. §§ 1746; .          paper identified with your name, your case's
18 u.s.c. §§ 1621.)                                       docket number, and the question number.

.Signed:~~                                                Date:   December 14, 2022


My issues on appeal are:

!Jee attached.




United States Court of Appeals                                                                      Page2
F.ORM 4 AFFIDAVIT ACCOMPANYING MOTION FOR PERMISSION TO APP'EAL IN FORMA PAUPERIS
Updated: December 2018




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Attachment to Form 4: Statement oflssues for the Purpose of fed. R. App. P. 24



        Appellant does not intend this statement of issues to be binding and does not intend for an

omission of any issue otherwise preserved to constitute a waiver of that issue. Appellant Koe

submits this statement of issues highlighting important questions of law for the purpose of

showing th~t the appeal is being taken in good faith and to comply with Fed. R. App. P. 24. This

case raises without limitation the following important issues:

    I. Is a court order prohibiting a litigant from communicating with over 25,000 individuals

        an unconstitutional prior restraint of free speech under the First Amendment?

    2. Is an order denying a litigant's motion to proceed by pseudonym immediately appealable

        under the collateral order doctrine? 1

    3. Doe~ a litigant's use of a pseudonym instead of a real name when filing a complaint

        deprive a court of subject-matter jurisdiction?

    4. Under the Norris-La Guardia Act, does a court lack jurisdiction to issue an order

       restraining a litigant from communicating with other employees when the controversy

        involves or arose out of alleged unlawful employment practices by the employer?

    5. Does a court deprive a litigant of procedural due process when it denies the litigant's

       motion to proceed using a pseudonym to protect privacy interests at risk from bringing

       action without affording the litigant a meaningful opportunity to be heard?



       Given the signific~t public interest in the issues raised by this case, Appellant intends to

file a motion for appointment of counsel.



1 This appears to be a matter for first impression in this Circuit




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                           CERTIFICATE OF SERVICE

      I hereby certify that on this 5th day of June, 2023, I electronically filed the
foregoing document with the Clerk of the United States Court of Appeals for the
Sixth Circuit via the electronic mail box designated for pro se filers:

      CA06_Pro_Se_Efiling@ca6.uscourts.gov

Service will be made on the following through the CM/ECF system as well as
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